                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA               )
                                       )
v.                                     )         Case No. 3:11-00012-36
                                       )         Magistrate Judge Knowles
DEONTE GRAHAM                          )


                                 O R D E R

      This matter is scheduled for a Detention Hearing before the

undersigned on June 10, 2014, at 2:00 p.m.

      IT IS SO ORDERED.




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                                     E. CLIFTON KNOWLES
                                     United States Magistrate Judge




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